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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                             1:19-mj-00513 (CLP)
                                   Plaintiff,
        - against -
                                                             NOTICE OF APPEARANCE
 GEORGE AREF NADER,

                                   Defendant.



         PLEASE TAKE NOTICE that the following attorney appears as counsel on behalf of

Defendant George Aref Nader in the above-captioned action:

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    Dated: June 4, 2019                           Respectfully Submitted,
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